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Fill in this information to identify the case:

Debtor 1 Cecilia Diaz

Debtor 2 Lazaro Diaz
(Spouse, if filing)


United States Bankruptcy Court for the: SOUTHERN                   District of FLORIDA
                                                                             (State)

Case number 18-23422-LMI



Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                     12/16


If the debtors’ plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtors’
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtors’ principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:               PennyMac Loan Services, LLC                        Court claim no. (if known)          2

Last four digits of any number you                 XXXXXX3255
use to identify the debtors’ account:

Does this notice supplement a prior notice of postpetition fees, expenses,
and charges?
   No
   Yes. Date of the last notice:

Part 1:               Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any escrow
account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.
        Description                                                                      Dates incurred                                 Amount

1.      Late charges                                                                                                             (1)    $          0.00
2.      Non-sufficient funds (NSF) fees                                                                                          (2)    $          0.00
3.      Attorney fees                                                                                                            (3)    $          0.00
4.      Filing fees and court costs                                                                                              (4)    $          0.00
5.      Bankruptcy/Proof of claim fees                                                   11/28/2018, 12/28/2018                  (5)    $        550.00
6.      Appraisal/Broker's price opinion fees                                                                                    (6)    $          0.00
7.      Property inspection fees                                                                                                 (7)    $          0.00
8.      Tax advances (non-escrow)                                                                                                (8)    $          0.00
9.      Insurance advances (non-escrow)                                                                                          (9)    $          0.00

10. Property preservation expenses. Specify:          _____________                                                              (10)   $          0.00
11. Other. Specify:                                                                                                              (11)   $
12. Other. Specify:                                                                                                              (12)   $
13. Other. Specify:                                                                                                              (13)   $

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

If the court has previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.




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Debtor 1        Cecilia Diaz                                                            Case number (if known)       18-23422-LMI
                First Name   Middle Name Last Name



Part 2:          Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number if different from the notice address listed on the proof of claim to which this Supplement applies.
Check the appropriate box.

 I am the creditor.
 I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best
of my knowledge, information, and reasonable belief.

           X     /s/Ashley Prager Popowitz                                                                   Date       5/14/2019
                 Signature

Print:           Ashley                       Prager                         Popowitz                        Title      Bankruptcy Attorney
                 First Name                   Middle Name                    Last Name

Company          McCalla Raymer Leibert Pierce, LLC, attorney for PennyMac Loan Services, LLC

Address          110 S.E. 6th Street, Suite 2400
                 Number           Street
                 Ft. Lauderdale                        FL                      33301
                 City                                  State                   ZIP Code

Contact phone           754-263-1065                                                Email       Ashley.Popowitz@mccalla.com


***If the Debtors and Lender are currently participating in the Mortgage Modification Mediation Program, this Notice of Postpetition Mortgage Fees, Expenses, and Changes is
for notice purposes only and will be abated pending the outcome of the mediation. If the Debtors does not modify the mortgage, the notices will be effective pursuant to the
Notice of Postpetition Mortgage fees, Expenses, and Charges




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                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF FLORIDA


In re:                                                                   )
                                                                         )      Case No. 18-23422-LMI
Cecilia Diaz                                                             )      Chapter 13
Lazaro Diaz                                                              )
                                                                                JUDGE: Laurel M. Isicoff
                                                                         )

                                                               EXHIBIT B

                                                   ITEMIZATION OF CLAIM

 Bankruptcy/Proof of Claim Fees:                                                                                            $550.00
                                                     Preparation of the POC 410A
                   11/28/2018                                                                                      $250.00
                                                     History
                                                     Preparation and Filing of Proof of
                   12/28/2018                                                                                      $300.00
                                                     Claim

 TOTAL POSTPETITION FEES, EXPENSES, AND CHARGES:                                                                            $550.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid. See 11
U.S.C. § 1322 (b)(5) and Bankruptcy Rule 3002.1
                        Case
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                                                     Case:      05/14/19   Page 4 of 4                  Page 4




                                                           Bankruptcy Case No.:     18-23422-LMI
 In Re:                                                    Chapter:                 13
           Cecilia Diaz                                    Judge:                   Laurel M. Isicoff
           Lazaro Diaz

                                       CERTIFICATE OF SERVICE

        I, Ashley Prager Popowitz, of McCalla Raymer Leibert Pierce, LLC, 110 S.E. 6th Street, Suite
2400, Ft. Lauderdale, FL 33301, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

         That on the date below, I caused to be served a copy of the within NOTICE OF POSTPETITION
MORTGAGE FEES, EXPENSES, AND CHARGES filed in this bankruptcy matter on the following
parties at the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Cecilia Diaz
691 East 35 Street
Hialeah, FL 33013

Lazaro Diaz
691 East 35 Street
Hialeah, FL 33013

Ricardo Corona, Esq.                              (served via ECF Notification)
3899 NW 7 St, Second Floor
Miami, FL 33126

Nancy K. Neidich, Trustee                         (served via ECF Notification)
POB 279806
Miramar, FL 33027

Office of the US Trustee                          (served via ECF Notification)
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on:         5/14/2019         By:    /s/Ashley Prager Popowitz
                       (date)                 Ashley Prager Popowitz
                                              Florida BAR No. 72341
                                              Attorney for PennyMac Loan Services, LLC
